Case 1:24-cv-00046-TC-DAO            Document 37        Filed 12/24/24      PageID.1302   Page 1
                                             of 5




 Kristen C. Rodriguez (Admitted Pro Hac Vice)
 Rebecca Hughes Parker (Admitted Pro Hac Vice)
 Dentons US LLP
 1221 Avenue of the Americas
 New York, NY 10020
 Tel.: (212) 768-6700
 Fax: (212) 768-6800
 kristen.rodriguez@dentons.com
 rebeccahughes.parker@dentons.com

 J. Mark Gibb (5702)
 Dentons Durham Jones Pinegar, PC
 111 South Main Street, Suite 2400
 Salt Lake City, Utah 84111
 Tel.: (801) 415-3000
 Fax: (801) 415-3500
 mark.gibb@dentons.com

Attorneys for Dotdash Meredith, Inc. f/k/a Dotdash Media, Inc.



                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

 NOVELLA ATWOOD; CHRISTINE CID;
 CHERALEE          ENGLAND;          KATHLEEN         DEFENDANT’S RESPONSE TO
 GAGON; KRISTEN PUERTAS; JANICE                       PLAINTIFF’S NOTICE OF
 RANDALL;        and SARAH            TYCHSEN,        SUPPLEMENTAL AUTHORITY
 individually and on behalf of all others similarly
 situated,                                            Case No. 1:24-cv-00046-TC-DAO

                             Plaintiffs,              Judge Tena Campbell

 vs.

 DOTDASH MEREDITH INC. f/k/a
 DOTDASH MEDIA INC.,

                        Defendant.
Case 1:24-cv-00046-TC-DAO           Document 37        Filed 12/24/24      PageID.1303        Page 2
                                            of 5




       Contrary to Plaintiffs’ representation in their Notice of Supplemental Authority regarding

Arnstein v. Sundance Holdings Group, LLC, 2024 WL 4882857 (D. Utah Nov. 25, 2024) that “the

court considered and rejected all of the same arguments” raised in DDM’s pending Motion to

Dismiss (“MTD”) in this case, Arnstein addressed only two of the many issues raised in DDM’s

MTD. Most notably, the complaint in that case, unlike here, alleged that the defendant “maintains

its headquarters and principal place of business” in Salt Lake City, Utah. Compare Am. Compl.

¶ 63, Arnstein, 2:24-cv-0344-RJS-DAO (D. Utah June 5, 2024), ECF No. 12 with FAC ¶ 46

(alleging upon information and belief that “Meredith has one or more office(s) or other place(s) of

business in Utah”). The plaintiffs in Arnstein also alleged that the defendant completed their orders

by shipping products from a location in Utah, as the court noted twice. See Arnstein, 2024 WL

4882857, at *1, 9. No such allegation is made here. Thus, the defendant in Arnstein, unlike DDM,

undisputedly has an “office or other place of business” in Utah such that it is a “commercial entity”

subject to NISNPIA. See MTD at 6–10; Reply at 2–4.

       In addition, the defendant in Arnstein did not raise—and the court did not address—

whether the plaintiffs had established a cognizable injury traceable to DDM sufficient for Article

III standing. See MTD at 15–21; Reply at 7–9. Nor were arguments regarding the statute of

limitations, comity, or federalism raised or addressed in Arnstein. See MTD at 13–14, 24–25;

Reply at 6, 10. Accordingly, the decision in Arnstein has no effect on these arguments raised in

DDM’s MTD, and the FAC should be dismissed.

       Moreover, the Court should not follow the non-binding holdings on the issues that were

addressed in Arnstein. First, Arnstein erroneously found that Rule 23, rather than NISNPIA’s class

action bar, governed such that the plaintiffs could bring a NISNPIA class action in federal court.

                                                 1
Case 1:24-cv-00046-TC-DAO           Document 37        Filed 12/24/24      PageID.1304      Page 3
                                            of 5




Despite recognizing that § 13-37-203(1) and (2) “creat[e] the rights, duties, and remedies” of

NISNPIA, the court found that the class action bar of § 203(3) “stands alone” from any substantive

component of the statute because § 203(1) and (2) do not reference it. Arnstein, 2024 WL 4882857,

at *6. But the class action bar need not be referenced by a remedy provision in order to define the

scope of that remedy—particular when the two provisions are subsections of the same “Liability”

section. See Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 420 (2010)

(state law controls when it “defin[es] the scope of substantive rights or remedies”). The error in

Arnstein is thus essentially the same as that in Curry v. Mrs. Fields Gifts, Inc., 2023 WL 6318108

(D. Utah Sept. 28, 2023): both courts concluded that Rule 23 applied because § 203(3) could be

separated from NISNPIA without removing a right or remedy, but that does not address the

pertinent question of Shady Grove, which is “whether the state law actually is part of a State’s

framework of substantive rights or remedies.” Shady Grove, 559 U.S. at 419 (emphasis added).

The class action bar is part of NISNPIA’s substantive framework by limiting the scope of its

remedy and therefore must be applied under the Rules Enabling Act. Without the class allegations,

there is no federal subject matter jurisdiction, and this case must be dismissed.

       In addition, DDM respectfully disagrees with Arnstein’s conclusion that generic

allegations—devoid of any facts about what nonpublic information was disclosed about which

plaintiff to which third party or when such information was disclosed—are sufficient to meet the

pleading standard. Binding precedent makes clear that such an “unadorned, the-defendant-

unlawfully-harmed-me accusation” is not enough to state a claim. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009); see also Khalik v. United Air Lines, 671 F.3d 1188, 1193 (10th Cir. 2012).

Accordingly, the FAC must also be dismissed under Rule 12(b)(6).

                                                 2
Case 1:24-cv-00046-TC-DAO   Document 37    Filed 12/24/24     PageID.1305      Page 4
                                    of 5




Dated: December 24, 2024           Respectfully submitted,

                                   /s/ Kristen C. Rodriguez

                                    Kristen C. Rodriguez (Admitted Pro Hac Vice)
                                    Rebecca Hughes Parker (Admitted Pro Hac Vice)
                                    Dentons US LLP
                                    1221 Avenue of the Americas
                                    New York, NY 10020
                                    Tel.: (212) 768-6700
                                    Fax: (212) 768-6800
                                    kristen.rodriguez@dentons.com
                                    rebeccahughes.parker@dentons.com

                                    J. Mark Gibb (5702)
                                    Dentons Durham Jones Pinegar, PC
                                    111 South Main Street, Suite 2400
                                    Salt Lake City, Utah 84111
                                    Tel.: (801) 415-3000
                                    Fax: (801) 415-3500
                                    mark.gibb@dentons.com


                                   Attorneys for Dotdash Meredith Inc. f/k/a Dotdash
                                   Media Inc.




                                      3
Case 1:24-cv-00046-TC-DAO        Document 37       Filed 12/24/24     PageID.1306       Page 5
                                         of 5




                              CERTIFICATE OF SERVICE

     I, Kristen C. Rodriguez, hereby certify that on December 24, 2024, a true and correct copy

of the foregoing document was served on all counsel of record who have consented to electronic

service via the Court’s CM/ECF system.

                                                  By:     /s/ Kristen C. Rodriguez

                                                          Kristen C. Rodriguez
US_ACTIVE\128691756




                                              4
